               SIXTH DISTRICT COURT OF APPEAL
                      STATE OF FLORIDA
                     _____________________________

                          Case No. 6D2023-2849
                   Lower Tribunal No. 2021-CF-001539-A
                     _____________________________

                      GREGORY EDWARD GARNER, JR.,

                                 Appellant,
                                     v.

                             STATE OF FLORIDA,

                                 Appellee.
                     _____________________________

              Appeal from the Circuit Court for Osceola County.
                          Keith A. Carsten, Judge.

                              August 27, 2024

PER CURIAM.

     AFFIRMED.

SMITH, BROWNLEE and GANNAM, JJ., concur.


Howard L. “Rex” Dimmig, II, Public Defender, and Kimberly Nolen Hopkins,
Assistant Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Roberts J. Bradford, Jr.,
Assistant Attorney General, Daytona Beach, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
          AND DISPOSITION THEREOF IF TIMELY FILED
